Case No. 1:23-cv-01550-SBP Document 13-4 filed 07/17/23 USDC Colorado pg 1 of 19

BENNETT, COLORADO, SUMMONS AND COMP! AINT

OR PENALTY ASSESSMENT

The Town of Bennett, Counties of Adams and Arapahoe

By and on behalf of the People of the State of Colorado vs.:

SUMMONS B

Agency: O+. ams $.0. O Arapahoe S.O. Othe: TOR
Agency Case # CE 23-0005 ACE23- oY

O SCHOOL OR SAFETY ZONE (FINES DOUBLED) O ACCIDENT (SUMMONS) CO JUVENILE (SUMMONS) Parent Info:

Date of Violation (mmidd/yy): & / | i/ oo~

Time of Violation: Approx. Location of Violation: ‘4
1700 hes [70 Cool ie CT
Defendant Name: (Last, First, Middle) _, yp \ 7
Wh iF rice
DOB: Gender: (M) F Race: | Ht ft in Wt | Hair: Eyes: Phone H:
(mm/dd/yy) / / | 19
| Address: Phone C:
. rf “
10 Codie 66 bennett, (0 80107 BO SCO FAD |
DL#: 7 ST |VehLic# ’ ST Make Model Yr Color VIN
Cls/Type
MTC | VIOLATION PT ORDINANCE | VIOLATION _|
1204 Parked Vehicle on Where Prohibited by Signs or Markings 0 513 Curfew (10-6-20)
1205 Parked Vehicle on Wrong Side of Road 0 514 Public Park Hours (11-5-120)
1208 Parked in Handicap Designated Parking Without Authorization 0 | 7-2-10 Debris Prohibited/Accumulation to Constitute a Nuisance
1503 Motorized Vehicles Restricted 0 7-85-30 Duty to Cut Weeds on Property |
237/236 Safety Belt Required Adult(237) Child(236) 0 | 7-7-20¢ Animals Running at Large
Speeding (5-9 mph over posted limit) ina mph
1101 Zone 1 7-7-70 Licensing of Dogs and Cats
— 1211(1)(a) | Unsafe Backing in Parking Area 1 7-7-80 Agaressive Animals
| 1211(1)(b) | Backed Vehicle on Shoulder or Roadway _ 2 7-7-90 Vicious Animals
| 202(1) Drove a Defective or Unsafe Vehicle 2 8-5-10 |) Parking & Storage Restrictions/Recreational Equipment.
204 Failed to Display Lighted Lamps When Required 2 10-4-10 Criminal Mischief
608(1) Failed to Use Turn Signal(s) 2 10-4-50 Defacing Public/Private Property
902(3) Made U-turn Where Prohibited 3 10-4-110 Theft
1007(1a) Failed to Drive in a Single Lane (Weaving) 3 10-4-120 Shoplifting
603 Failed to Observe/Disregarded Traffic Control Signal or Device 4 |__| 10-5-30 Interference With an Educational Institution
1008/1) Following too Closely 4 10-5-40/ ) Harassment
Speeding (10-19 mph over posted limit) ina mph
1101 Zone. 4 10-5-80 Assault
1402 | Careless Driving 4 10-5-140 Throwing Stones, Missiles, Etc.
1409 Insurance Failed to Present Uninsured 10-7-30 Po ion/Consumation of Alcohol by Underage Person
Speeding (20-39 mph over posted limit) ina
1101 mph Zone 6 10-7-80 Pr ion of Drug Paraphernalia
1401 Reckless Driving 8 A0-T-100 Po ion of Cannabis by an Underage Person
5-3-0 |Valawhul ye or Aegulsinbire (Walor)

ee

Xx

O PENALTY ASSESSMENT - Payable by Mail

If this box is checked, payment of your fine by mail without a court
appearance is permitted. (See back of summons for instructions). If your
payment is received by mail or in person by 5:00 pm. on the business day
before your court date, you do not have to appear in Court and the
associated penalty points will be reduced as shown on the back of this
summons. If payment is not received you must appear on the court
date indicated. Without admitting guilt, | agree to comply with the
instructions on the reverse side of this summons or penalty assessment.

Total Points

Total Fine Amount: $

If over four (4) =

Defendant Signature

Summons-Mandatory Appearance

See reverse side for point reduction provisions.

(S/-SUMMONS - Mandatory Court Appearance

Without admitting guilt, | promise to appear at the time and place indicated
below. (If you are under the age of 18 at the time of the court date listed below,
you must be accompanied by a parent or legal guardian when appearing in
court.)

Defendant Signature

COURT DATE
You are summoned and ordered to appear to answer charges stated above in:
Bennett Municipal Court, 207 Muegge Way, Bennett, CO 80102

ON Aw | at_(0 DAM xem

Warning: If you fail to appear in response to this summons as ordered, a warrant will
be issued for your arrest.

The undersigned has probable cause to believe that the defendant committed the offense(s)
against the peace and dignity of the Town of Bennett, State of Colorado and affirms that a
copy of this summons and complaint or Penalty Assessment was served upon the
defendant:

Date Issued: Sf [32-
Ai ae———

Officer Name:fA : Bust, L CFO

Badge# 26 J z=

Signature*

COURT
Case No. 1:23-cv-01550-SBP Document 13-4 filed 07/17/23 USDC Colorado pg 2 of 19

Neighborhood Services ZZ
Code Enforcement/Animal Contre
Incident Report Bennett]
Case#CE22-0019 Date/Time Reported: 5/17/22 4:40p Date/Time of Incident: 2/8/22
Location of Incident: 170 Coolidge Court Bennett County: Adams
Summons#: B6731 Charges: Unlawful Use or Acquisition | Court date: 6/22/22
(W-Witness, S-Suspect, V-Victim, RP-Reporting Party, T/O-This Officer)
S Name: Eric Witt Phone:720-496-99 12
Address: 170 Coolidge Court City/State/Zip: Bennett, CO 80102
d.o.b: Hair: Eyes: Height: Weight: Race:
W | Name: Robert Sherer Phone:303-349-4791
Address: 207 Muegge Way City/State/Zip: Bennett, CO 80102
d.o.b: Hair: Eyes: Height: Weight: Race:
W | Name: Mark Cowlishaw Phone: 303-501-6568
Address: 207 Muegge Way City/State/Zip: Bennett, CO 80102
d.o.b: Hair: Eyes: Height: Weight: Race:

Statement: May 17°, 2022 | was assigned as a Community Services Officer for the Town of Bennett. At approximately
4:40p | was advised by Mrs. Trish Stiles, Town Administrator, that Mr. Eric Witt of 170 Coolidge Court, Bennett,
Colorado 80102 needed to be summoned to court for violating Town Municipal Code 13-3-80 Unlawful Use or
Acquisition (water). | initiated an investigation into the incident and determined the following:

February 8", 2022 Mr. Mark Cowlishaw and Mr. Robert Sherer shut off the water supply to 170 Coolidge Court,
Bennett, Colorado 80102 due to non-payment of the water bill. On May 17", 2022 Mr. Cowlishaw and Mr. Sherer
returned to the address and discovered the water had been turned back on at some point between the two dates. The
water was again shut off and an attempt, by Officer Keith Buono, was made to issue a summons to Mr. Witt but to no
avail. Mr. Witt was sent a summons by certified mail via the United States Post Office for a court date of June 22, 2022.
On May 23", 2022 | obtained Witness statements from Mr. Cowlishaw and Mr. Sherer pertaining to the incident at 170
Coolidge Court. They also advised that the water had been turned back on since the last shut off on May 17, 2022,
and that it had been shut off again with a lock being placed on it to prevent further tampering. This incident referred to
the Community Services Supervisor for further review.

Officer Signature: - Date:

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PAGE 1

Town of Bennett - 207 Muegge Way- Bennett, CO 80102 - 303-644-3249 - townofbennett.colorado.gov
Case No. 1:23-cv-01550-SBP Document 13-4 filed 07/17/23 USDC Colorado pg 3 of 19

Neighborhood Services
Code Enforcement/Animal Control

Witness statement
Case# CEAZ~ OF Date/Time Reported: 5/17/22 4:40p | Date/Time of Incident: AG) ae
Location of Incident: 170 Coolidge Court Type of Incident: Unlawful Use or Acquisition
(W-Witness, S-Suspect, V-Victim, RP-Reporting Party, T/O-This Officer)
W | Name: . Phone:

Mark Cowlishaw w303~501-656%
oem 207 Mue + Ee Way Ren well,Co Sots!
d.o.b: Hair: Eyes: Height: Weight: Race:

On -8-2022 LD chyt the water of F
at id Coohase CT. £or pions pau meu
we Checked i on S/t/2zorz and Heo

t T a

water LWA < tur ts0 ol onal, L then
jywened the water hack oF F own
S-17-26022. On S52 320a2. th wate
LIAS Luens 2A back OAS S56 TL turene
tt back ofF and pyvt a tee’ lock
OAD i+. /
Witness Signature: Date:

Ma Of le B~2W-RODDB

PAGE 1

Town of Bennett: 207 Muegge Way: Bennett, CO 80102 303-644-3249: townofbennett.colorado.gov
Case No. 1:23-cv-01550-SBP Document 13-4 filed 07/17/23 USDC Colorado pg 4 of 19

Se

Neighborhood Services Bennett
Code Enforcement/Animal Control _——
Witness statement
Case# CE A -O0 19 Date/Time Reported: 5/17/22 4:40p | Date/Time of Incident: 3/ ol Po-
Location of Incident: 170 Coolidge Court Type of Incident: Unlawful Use or Acquisition

(W-Witness, S-Suspect, V-Victim, RP-Reporting Party, T/O-This Officer)

W | Name: - Phone:
Robert Sherer Rot- FY4 - Y74
Address: City/State/Zip:
ZOT Muyege Vez Vevene fH Ce For
d.o.b: Hair: "| Eyes: Height: Weight: Race:

On Z ~§- 2077 the tratiy LLas Shut otf at [TO Cecbdee

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On  S-l]-Gett we checked the joit aud fAe beater es on,

We. shaf jf of £

On 9 -Z3-t08E we checked the pit and fae cocter weren

we shut st of ¢ Ano placed 6 fidlock CA the wa lee,

Witness Signature: Date:

« Q4ZE
KAtbA- fee?

PAGE 1

Town of Bennett > 207 Muegge Way: Bennett, CO 80102 - 303-644-3249 ~ townofbennett.colorado.gov
Case No. 1:23-cv-01550-SBP Document 13-4 filed 07/17/23 USDC Colorado pg 5 of 19

BENNETT MUNICIPAL COURT
Summons # CE 73 - OOS

The People of the State of ) Waiver of Rights
Colorado and ) and plea of
County of Adams ) (Guilty)
Town of Bennett ) (Not Guilty)

vs )
LA, it / ELIC’

Defendant )

Comes now the above defendant and is advised of the following rights pursuant to the above cited case:

t have knowledge of the following Rights:

To remain silent.
To have any statement made by me used against me at a later date.
lam presumed innocent.

i have a right to plead not guilty and have a trial to the Court.
| may put the Town to the burden of proving me guilty as to each charge and each element of that charge beyond a reasonable

doubt.
thave the right to engage counsel.

To request a reasonable continuance.
To have Subpoenas issued by the court without expense, except cost of service, to compel attendance of witnesses.

| have the right to testify on my own behalf or remain silent, at my own sole discretion.

| have the right to call witnesses on my own behalf.
1 have the right to appeal according to rule 237 of the Colorado Municipa! Court Rules of Procedure.
Any plea entered by me must be voluntary and not the result of undue influence or coercion on the part of anyone.

| further understand the possible maximum penalty is Two Thousand Six Hundred Fifty and no/100s ($2650.00), that if this is a traffic offense,
that penalty points may assessed against my driving privilege, and that if | plead not guilty, my case will be heard at trial within 90 days of
today’s date. With a full understanding of the rights |! have, and possible penalties, | do plead as follows:

[I eae

CJ

REQUEST to speak to Town Prosecutor. If trial is necessary, it is to be scheduled

within 90 days of the date of my plea.

Initial

NOT GUILTY and request trial.
Initial

GUILTY I enter the guilty plea freely and voluntarily, and with full knowledge
Initial of my waiver of the above stated rights and of the possible penalties.

Defendant Date
If the defendant is under the age of eighteen (18) a parent or guardian must sign this plea.

Date

Parent or Guardian
Case No. 1:23-cv-01550-SBP_ Doc

Bennett Municipal Court

Waren 13-4 _ filed 07/17/23 USDC Colorado pg 6 of 19

inute Order
ne WH, Eric

CASE #.. CE ae 0004S

DATE: Lp 9 - M20

PROSECUTOR

Pre-Trial Conference Held with Prosecutor Joe Lico:

Defendant enters following plea with additional recommendations:

Points Fine

Pe

Count 1:
Amend to:

Count 2:

Amend to:

Additional Recommendations:

Stipulations:
JUDGE
O ACCEPT Prosecutor's recommendation and Defendant Plea
oO REJECT Prosecutor's recommendation and Defendant Plea COURT COSTS (circle)
Oo ACCEPT Defendant Plea (No Prosecutor Requested) Jury Trial ($25/$75)
Points Fine
Additional Order: cc | $35.00
Count 1: D SOE | $25.00
- pat ow | $30.00
Additional ie [A wf 165 BW | $75.00
ee oN C Points Fine cs | $25.00
Pfc ( 0 1/3 Kh Default | $30.00
é Ke
Count 2: fit ‘ | | Deferred | $75.00
: FTA | $25.00
IAAL FIP | $25.00
Additional! Conditions: 2: C22
Total Due s

COURT CLERK

ccs

SOE

TTL
FEES | FEES | DUE

PAYMENT | BALANCE | INITIALS/NOTES

DATE

FINES

Case No. 1:23-cv-01550-SBP Document 13-4 filed 07/17/23 USDC Colorado pg 7 of 19

BENNETT MUNICIPAL COURT

PAYMENT AGREEMENT & SENTENCE CONDITIONS

Bennett Municipal Court
207 Muegge Way
Bennett, CO 80102
303-644-3249 x1001

DEFENDANT NAME : Witt ENC. CASE #CF 2220005
Description Amount Due Note
Fine Amount $ 7 = rf
Court Cost $35 ELA MspD i222
Stay of Execution $25
Deferred Judgment Fee $50 Months Review On:
Community Service $25 Hours Completed By:
Default Judgment Fee $30
Bench Warrant $75,
Other FIA
Pay Today: and/or
: h
TOTAL DUE $ Payment Arrangement: $ due by the

day of each month beginning until paid

in full.

ADDITIONAL CONDITIONS

Class DAlcohol /Drug

Completed By:

CO Theft Day/Hours
x Month
Drug Testing/UA For .
months Completed By:

No Further Violations

Through

| agree to pay the total amount due on or before the due date above. | understand additional penalties noted above will be
enforced due to non-compliance with payment agreement or sentencing conditions.

Date:

Defendant

Parent of Minor

All Payments should be mailed to: Town of Bennett Municipal Court
207 Muegge Way
Bennett, CO 80102
or can be made online with a credit card at www.TownofBennett.org. Please note there is a

transaction fee for all credit card payments.

COURT CLERK

DATE FINES ccs SOE FEES

FEES TILDUE |/PAYMENT|BALANCE |INITIALS/NOTES

Case No. 1:23-cv-01550-SBP Document 13-4 filed 07/17/23 USDC Colorado pg 8 of 19

A
Bennett

Bennett Municipal Court
207 Muegge Way
Bennett, CO 80102
303-644-3249 x1001

June 28, 2022

Eric Witt
170 Coolidge Court
Bennett, Colorado 80102

Mr. Witt,
Please find the attached bench warrant for your arrest.

You were issued summons citation number #B6731 for violating one (1) count of BMC Ordinance 13-3-80 Unlawful Use
or Acquisition (water). You failed to appear for your hearing on June 22, 2022 at 6:00 p.m. to comply with a court order
by that date, or contact the court regarding options; Judge Ausmus issued the warrant for your arrest. The Judge ordered a
PR bond in the amount of $500 on your case. You have four options at this point:

1. You may turn yourself in, at any time, to the Adams County Police Department. Make sure to have the bond
money on you or with another person who can bond you out, in order to avoid spending time in jail. A bail
bondsman may act as a surety. In certain circumstances, you may be eligible for a personal recognizance bond if
you are unable to pay your bond. Once the bond is paid, we will clear the warrant and set you a bond return
hearing where you will appear before the judge to have penalties assessed. If the penalties are less than your bond
amount, we will return the remainder of the bond by mail.

2. Tur yourself in on a court date at the Bennett Municipal Court office, 207 Muegge Way, Bennett, CO. You will
need to contact the court for the date and time of the next court date.

3. You may also pay your bond directly to the Bennett Municipal Court under prearranged conditions. If you are
living out of state, you can pay on-line at the https://www.colorado.gov/townofbennett website. Once the bond is
paid, we will clear the warrant and set you for a bond return hearing. For out of state defendants, the court may
process the case with a plea by mail. If you have any questions regarding your warrant, please contact the court.

4, You may contact the court in writing explaining your failure to appear and request that the bench warrant be
vacated and a resetting of your court date. Within your written explanation, you must provide your current
address and phone number. In your written explanation, you may request that the current cash or surety bond
be converted into a Personal Recognizance Bond (PR Bond) which would require you to appear at the next
available court date. However, it would be left up to the Court to grant a PR Bond. If the Court grants your
request for a PR Bond, you would be required to appear at the Bennett Town Hall to sign the PR Bond
paperwork within two business days upon notification. If the court denies your request for a PR Bond, you
would be required to post either a cash or surety bond.

Christina Hart
Bennett Municipal Court Clerk
Case No. 1:23-cv-01550-SBP Document 13-4 filed 07/17/23 USDC Colorado pg 9 of 19

IN THE MUNICIPAL COURT OF THE TOWN OF BENNETT
COUNTIES OF ADAMS AND ARAPAHOE, STATE OF COLORADO

CASE NO.: CE22-0005

SUMMONS #B6731 ee oe
BENCH WARRANT

STATE OF COLORADO
COUNTIES OF ADAMS AND ARAPAHOE )
TOWN OF BENNETT )

) THE PEOPLE OF THE STATE OF COLORADO
VS.
Witt, Eric

TO ANY AUTHORIZED LAW ENFORCMENT OFFICER OF THE AFORESAID MUNICIPALITY:

WHEREAS, Officer Buono has heretofore made complaint and summons has been issued commanding
Witt, Eric, Defendant, io appear in this court and whereas said Defendant failed to appear on 1 count

of Ordinance 13-3-80 Unlawful Use or Acquisition (water).

You are therefore commanded to forthwith arrest the above-named Defendant and bring him/her before
a judge in said Municipal Court of the Town of Bennett, 207 Muegge Way, Bennett, Colorado 80102 to
be dealt with according to the law, hereof fail not at your peril. In accordance with Colorado law, the
Defendant shall be scheduled for a bond hearing no Jess than 2 days, excluding Sundays & Federal
Holidays, following notice to this court that the Defendant is in custody. In the event such hearing does
not occur, the bond herein shall be immediately amended to a personal recognizance bond.

Given under my hand and seal this 27" day of June A.D. 2022
Dated: June 27, 2022

: pal cour. ae iwo 2 calendar

*Per 13-10-1 J 15, C.RS., if defendant is being held solely on the basis of a mu Heipal hold, defendant shall be reteased on

Efi S| i

eae 2 endant has fai ea ine ¢
def t shall be re ona PR ped if i court do t hold a hearing wit in four 4) calendar days of being notified
by the jail of the munici al hold excluding $ an ral Holi

THE DEFENDANT IS TO BE ADMITTED TO BAIL IN THE SUM OF $500 PR Bond

DEFENDANT INFORMATION: Eric Witt
LK ADDRESS: 170 Coolidge Court, Bennett, Colorado 80102

Phone: 720-560-8282

DOB: U/K. HGT: U/K WGT: UK Sex: M
EYES: U/K HAIR: U/K RACE: U/K
VEH LIC#: U/K DRIV LIC#: U/K
Case No. 1:23-cv-01550-SBP Document 13-4 filed 07/17/23 USDC Colorado pg 10 of 19

hey Gmail Christina Hart <chart@bennett.co.us>

CASE # CE22-0005 BENCH WARRENT

2 messages

Eric Witt <ericwitt34@gmail.com> Jue, Jul 26, 2022 at 9:13 AM
To: "chart@bennett.co.us" <chart@bennett.co.us>

Hello,

My name is Eric Witt. | am requesting the bench warrent for case number CE22-0005 be vacated. | was unaware | had court to attend. | did speak with
an employee from the town of bennett that had left a note on my door to contact. | attempt contact and then got a response after a few days. | was informed
there was a summons being mailed to me. I explained | was confused about the situation and was told the summons would come in the mail. | kept an eye

out for it and never was never served or received it via mail.
lam a single dad with custody and it would be detramental to my child for me to get arrested. I will go to court anytime | get a summons. if vacated and a

rescheduled court date is issued. | will absolutely show up. So | am requesting to please vacate this bench warrent.
Thank you,

Eric Witt
170 Coolidge Ct, Bennett, CO 80102

Christina Hart <chart@bennett.co.us> Tue, Jul 26, 2022 at 1:06 PM
To: Eric Witt <ericwitt34@gmail.com>

Mr. Witt,

Thank you for your email. The court administrator will contact the Municipal Judge's with your request. You will be contacted regarding your case once the
Judge has responded.

Respectfully,
Christina

x Christina Hart | Town Clerk

Benn | 207 Muegge Way | Bennett CO, 80102

=_ (303)644-3249 ext. 1001 | chart@bennett.co.us
townofbennett.colorado.gov

welcome neighbors.

[Quoted text hidden]
Case No. 1:23-cv-01550-SBP Document 13-4 filed 07/17/23 USDC Colorado pg 11 of 19

Peg om ail Christina Hart <chart@bennett.co.us>

RE: Witt, Eric - 6-22-2022 FTA/ BW Issued

3 messages
Christina Hart <chart@bennett.co.us> Tue, Jul 26, 2022 at 3:33 PM
To: Andy Ausmus <andy@ausmuslaw.com>
Ce: "Day, Shawn” <sday@auroragov.org>, Joe Lico <ninewords@msn.com>
Greetings,
Mr. Witt failed to appear for his June 22 arraignment. He was charged with violating BMC 13-3-80 Unlawful Use or Acquisition (water).
A bench warrant was issued with a $500 PR bond. Mr. Witt received notification of the bench warrant.

Mr. Witt contacted the court yesterday requesting the bench warrant be vacated. Please provide direction on how the court should proceed.

Respectfully,
Christina

A Christina Hart | Town Clerk
Bennett|| 207 Muegge Way | Bennett CO, 80102

(303)644-3249 ext. 1001] chart@bennett.co.us
townofbennett.colorado.gov

welcome neighbors.

Day, Shawn <Sday@auroragov.org> Tue, Jul 26, 2022 at 4:00 PM
To: Christina Hart <chart@bennett.co.us>, Andy Ausmus <andy@ausmuslaw.com>
Cc: Joe Lico <ninewords@msn.com>

Hi Christina,
Please accept this email as my Order to cancel the bench warrant and re-set Mr. Witt’s case for the August court date.
Respecttully,

Shawn

[Quoted text hidden]
Christina Hart <chart@bennett.co.us> Tue, Jul 26, 2022 at 4:18 PM
To: "Day, Shawn" <Sday@auroragov.org>

Cc: Andy Ausmus <andy@ausmuslaw.com>, Joe Lico <ninewords@msn.com>

Thank you, Judge Day.

ZA Christina Hart | Town Clerk

Benniett] 207 Muegge Way | Bennett CO, 80102
ae (303)644-3249 ext. 1001 | chart@bennett.co.us

townofbennett.colorado.gov

welcome neighbors.

[Quoted text hidden]
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~~ town of BENNETT MUNICIPAL COURT
Ben nett 207 Muegge Way

Bennett, Colorado 80102-7806
303-644-3249 Ext. 1001

July 26, 2022

Eric Witt

170 Coolidge Court
Bennett, Colorado 80102
Mr. Witt,

The Bennett Municipal Court has cancelled the bench warrant and has reset your arraignment for
August 24, 2022 at 6:00 p.m.

Enclosed you will find the court order with the information for your newly scheduled arraignment.

Bennett Municipal Court Clerk
Town of Bennett

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Case No. 1:23-cv-01550-SBP Document 13-4 filed 07/17/23 USDC Colorado pg 13 of 19

BENNETT MUNICIPAL COURT, COUNTY OF ADAMS, STATE OF COLORADO

Criminal Action No. B6731

RESET FOR REVIEW

THE TOWN OF BENNETT by and on behalf of
THE PEOPLE OF THE STATE OF COLORADO,

Plaintiff,
vs.

Witt, Eric
Defendant

You are hereby notified the above case has been reset for Arraignment in
the Bennett Municipal Court to Wednesday, the 24th of August, 2022 at
6:00 p.m. in the Municipal Court at 207 Muegge Way, Bennett, Colorado,
80102-7806.

This constitutes the only notice you will receive regarding this date.
FAILURE TO APPEAR AT THE ABOVE DATE, TIME AND LOCATION WILL RESULT IN A
POTENTIAL BENCH WARRANT FOR YOUR ARREST AND ADDITIONAL FEES.

Dated this 26th day of July, 2022
Clerk of the Bennett Municipal Court

Cc ae Hart

207 Muegge Way
Bennett, Colorado 80102-7806

CERTIFICATE OF MAILING

I certify that on July 26, 2022 I served a copy of the RESET FOR
ARRAIGNMENT by U.S Mail to:

Eric Witt

170 Coolidge Court

Bennett, Colorado 80102

Last known address of the party.

Clerk of Bennett Municipal Court

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Case No. 1:23-cv-01550-SBP Document 13-4 filed 07/17/23 USDC Colorado pg 14 of 19

BENNETT MUNICIPAL COURT
Summons # Bl p | 4 |

The People of the State of ) Waiver of Rights
Colorado and ) and plea of
County of Adams ) (Guilty)
Town of Bennett ) (Not Guilty)

VS )

Whitt E
Defendant )

Comes now the above defendant and is advised of the following rights pursuant to the above cited case:
| have knowledge of the following Rights:

To remain silent.

To have any statement made by me used against me at a later date.

lam presumed innocent.

| have a right to plead not guilty and have a trial to the Court.

| may put the Town to the burden of proving me guilty as to each charge and each element of that charge beyond a reasonable
doubt.

6 i have the right to engage counsel.

7. Torequest a reasonable continuance.
8

9

Yo PWN PR

To have Subpoenas issued by the court without expense, except cost of service, to compel attendance of witnesses.
.  Thave the right to testify on my own behalf or remain silent, at my own sole discretion.
10. Ihave the right to call witnesses on my own behalf.
11. [have the right to appeal according to rule 237 of the Colorado Municipal Court Rules of Procedure.
12. Any plea entered by me must be voluntary and not the result of undue influence or coercion on the part of anyone.

| further understand the possible maximum penalty is Two Thousand Six Hundred Fifty and no/100s ($2650.00), that if this is a traffic offense,
that penalty points may assessed against my driving privilege, and that if ! plead not guilty, my case will be heard at trial within 90 days of
today’s ty fd) a full understanding of the rights | have, and possible penalties, | do plead as follows:

REQUEST to speak to Town Prosecutor. If trial is necessary, it is to be scheduled

Initial within 90 days of the date of my plea.

[] NOT GUILTY and request trial.
Initial

[| GUILTY | enter the guilty plea freely and voluntarily, and with full knowledge
Initial of my waiver of the above stated rights and of the possible penalties.

Defendant Se Lb mate 4 DD.

If the defendant is under the age of eightken ( (18) a parent or guardian must sign this plea.

Parent or Guardian Date

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Bennett Municinal Court Minute Order

NAME : WWi ++

E

CASE #: lp) 3 |

PROSECUTOR

pate: 44 - ADB

oe

Pre-Trial Conference Held with Prosecutor Joe Lico:

Defendant enters following plea with additional recommendations:
Points Fine

Count 1: fy fs es (> | |
Amend to: — XD) ) | |
Count 2: |
Amend to: |

PE fo

chin | Fine

AGr:

Additional Recommendations:

Stipulations:
JUDGE
a ACCEPT Prosecutor's recommendation and Defendant Plea
0D REJECT Prosecutor's recommendation and Defendant Plea covet COSTS (circle)
Oo ACCEPT Defendant Plea (No Prosecutor Requested) Jury Trial ($25/$75)
Points Fine
Additional Order: CC} $35.00
Count 1: SOE | $25.00
OJW | $30.00
Additional BW | $75.00
Points Fine cs | $25.00
Default | $30.00
Count 2: Deferred | $75.00
FTA | $25.00
SO FTP | $25.00
Additional Conditions: Cent. CAD fo 2Yt LS
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ef PDE AWS (/ CPT CKheE.
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DATE FINES | CCS SOE FEES | FEES | DUE PAYMENT | BALANCE | INITIALS/NOTES

Case No. 1:23-cv-01550-SBP Document 13-4 filed 07/17/23 USDC Colorado pg 16 of 19

PAYMENT AGREEMENT & SENTENCE CONDITIONS

DEFENDANT NAME : Wi I++ FE

Bennett Municipal Court

BENNETT MUNICIPAL COURT

207 Muegge Way

Bennett, CO 80102

303-644-3249 x1001

CASE Dl 3

Note v AY -KOBA

Description __ Amount Due
Fine Amount $ 7
Court Cost $35 30 DU CONT ‘
Stay of Execution $25 Levi 0 RY WOm~lGa@s  .
Deferred Judgment Fee $50 Monttis Review On: “f lh SOKAA
Community Service $25 Hours Completed By:
Default Judgment Fee $30
Bench Warrant $75
Other
Pay Today: and/or
TOTAL DUE $ Payment Arrangement: $ due by the
day of each month beginning until paid
in full.
ADDITIONAL CONDITIONS
Class DAlcohol /Drug .
O Theft Day/Hours Completed By:
x Month
Drug Testing/UA For .
- months Completed By:
No Further Violations Through

| agree to pay the total amount due on or before the due date above. | understand additional penalties noted above will be
enforced due to non-compliance with payment agreement or sentencing conditions.

Date:

Defendant

Parent of Minor

All Payments should be mailed to: Town of Bennett Municipal Court

207 Muegge Way
Bennett, CO 80102

or can be made online with a credit card at www.TownofBennett.org. Please note there is a
transaction fee for all credit card payments.

COURT CLERK

DATE FINES

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PAYMENT|BALANCE |INITIALS/NOTES

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BENNETT MUNICIPAL COURT
207 Muegge Way

Bennett, Colorado 80102-7806
303-644-3249 Ext. 1001

August 25, 2022

Eric Witt
170 Coolidge Court
Bennett, Colorado 80102

Mr. Witt,

You appeared before the Bennett Court on August 24, 2022 for violating BMC 13-3-80 Unlawful Use or
Acquisition of Water.

The hearing has been continued until September 28, 2022 at 6:00 p.m. with a review of compliance.

If you have any questions, please do not hesitate to contact me.

Respacttully, he
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Bennett Municipal Court Clerk
Town of Bennett

Case No. 1:23-cv-01550- uahewrt Document is- 4 filed O71 7123 USDC Colorado pg 18 of 19

Town of Bennett
Bennett 207 Muegge Way

Bennett, Colorado
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Eric Witt
— 170 Coolidge Court

_) Bennett, CO 80102

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, _ oron the front if space permits,
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